Case 2:05-Cr-20225-BBD Document 10 Filed 07/27/05 Page 1 of 2 Page|D 8

IN THE UNITED sTA'rEs DISTRICT COURT F"‘“‘E” m D-C»
FoR THE WESTERN DISTRICT or TENNESS
WESTERN DIVISION §§ JUL 27 PH |= |3

 

UNITED STATES OF AMERICA

 

V. 05-20225-D

WILLIE HEARD

 

ORDER ON ARRAIGNMENT

 

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This cause came to be heard on 2 71 2 a 0 § , the United States Attorney

for this district appeared on behalf of the go%rnmdtit, and the defendant appeared in person and with
eounsel:

NAME 9 /L/U.¢ ~=vp‘\/MJ-/v\:/ who is Retained/Appointed.

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty,

All motions shall be filed Within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

The defendant, Who is not in custody, may stand on his present bond.

The defendant, (not having made bond) (being a state prisoner) (being a federal prisoner)
(being held without bond pursuant to BRA of 1984), is remanded to the custody of the U.S. Marshal.

/O./zm /C %//%/

UNITED sTATES MAGIS'TRATE JUDGE

CHARGES: 18:922(§);

U. S. Attorney assigned to Case: S. Hall

Age: ?¢g`
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Thls document entered on the dockets et|n om lia
with Flule 55 and/or 32(b) FRCrP on

 

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This notice confirms a copy of the document docketed as number 10 in
case 2:05-CR-20225 Was distributed by faX, mail, or direct printing on
July 29, 2005 to the parties listedl

 

 

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

